Case 5:18-cv-01313-EEF-MLH Document 5 Filed 11/08/18 Page 1 of 2 PageID #: 13



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA

   MADELINE MEAD,                                 )
                                                  )
                  Plaintiff                       )
                                                  )
          v.                                      ) Case No.: 5:18-cv-01313
                                                  )
   SANTANDER CONSUMER U S A INC,
                                                  )
                Defendant                         )
                                                  )

                         NOTICE OF VOLUNTARY DISMISSAL


   TO THE CLERK:

          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

   dismisses the Complaint without prejudice to pursue this claim in private arbitration.




   Dated: November 8, 2018                      BY: /s/ Samuel John Ford
                                                Samuel John Ford, Esq.
                                                Varadi Hair & Checki
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                                                Attorney for Plaintiff
Case 5:18-cv-01313-EEF-MLH Document 5 Filed 11/08/18 Page 2 of 2 PageID #: 14



                                    Certificate of Service

          I hereby certify that on this 8th day of November, 2018, a true and correct copy of

   the foregoing pleading served via mail to the below:


          Santander Consumer, USA, Inc.
          1601 Elm Street, Suite 800
          Dallas TX 75201


                                                BY: /s/ Samuel John Ford
                                                Samuel John Ford, Esq.
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